  Case 1:21-cr-00371-BMC-TAM Document 65 Filed 01/26/22 Page 1 of 2 PageID #: 529




                                                                                      ABBE DAVID LOWELL
                                                                                                       Partner
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                                             January 26, 2022


VIA ECF
Hon. Brian M. Cogan
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re:      United States v. Al Malik Alshahhi, et. al., No. 1:21-cr-00371 (BMC)

Dear Judge Cogan:

         On behalf of defendant Matthew Grimes in the above-referenced case, we respectfully write to
request access to certain data concerning the Master Jury Wheel from which the Grand Jury was selected
in this case. The U.S. Attorney’s Office for the Eastern District of New York has agreed to allow counsel
for Mr. Grimes to inspect “a limited set of data – namely, the county of residence, zip code, and, to the
extent available, the race and age of the individuals listed in the Master Jury Wheel from which the grand
jury was selected” – and has consented to this request.

        The government informed defense counsel that this type of data is currently held with the Clerk’s
Office and that any inspection of the material identified above must go through that office. Counsel for
Mr. Grimes wishes to make the Court aware of this consented-to request and inquire how Your Honor
would like us to proceed with respect to our inspection of the materials outlined above. Please let us know
at your earliest convenience how or when the Court, together with the Clerk’s Office, would like this
inspection to take place.

       If you have any questions regarding these requests, please do not hesitate to contact me.

Respectfully,

/s/ Abbe David Lowell
Abbe David Lowell
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  Case 1:21-cr-00371-BMC-TAM Document 65 Filed 01/26/22 Page 2 of 2 PageID #: 530


                                                                     January 26, 2022
                                                                               Page 2



Attorney for Defendant Matthew Grimes


cc: All counsel of record (via ECF)
